                                                                                Case 4:05-cr-00197-CW            Document 93           Filed 09/18/06   Page 1 of 2



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                                                                         8                                   UNITED STATES DISTRICT COURT
                                                                         9                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   UNITED STATES OF AMERICA,                                  No. CR 05-00197 CW (JL)
                               For the Northern District of California




                                                                         12                   Plaintiff,
                                                                         13           v.                                                 REPORT AND RECOMMENDATION
                                                                         14   ROBERT D. HAZEN,
                                                                         15              Defendant.
                                                                              ________________________________/
                                                                         16
                                                                         17           On September 14, 2006, the undersigned magistrate judge, pursuant to an
                                                                         18   arrangement with counsel and the court, took a change of plea to Count 2 in the above-
                                                                         19   entitled matter, aiding and assisting in the preparation of a false federal income tax return,
                                                                         20   in violation of Title 26 U.S.C. § 7206(2).
                                                                         21           This Court found that Mr. Hazen understood his rights and freely and voluntarily
                                                                         22   gave up his rights, and entered a plea of guilty to the charge, pursuant to the plea
                                                                         23   agreement between the parties. Mr. Hazen was advised of the nature of the charges, the
                                                                         24   maximum penalties, the consequences of entering a plea, and the terms of the plea
                                                                         25   agreement. He did not appear to be under the influence of medication, alcohol or drugs;
                                                                         26   and neither counsel had any doubt regarding his competence to enter the plea. Mr. Hazen
                                                                         27   stated that he was satisfied with the assistance of his attorney. The defendant adopted the
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                                                                         1    statement of facts in ¶ 2 of the plea agreement, and the Court found that there is a factual
                                                                         2    basis for the plea of guilty.
                                                                         3            Accordingly, I recommend that the Court accept the guilty plea. The matter was set
                                                                         4    for report and sentence on January 8, 2007 at 2:30 p.m. before Judge Wilken.
                                                                         5
                                                                         6    DATED: September 18, 2006
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                                                                                                                                       __________________________________
                                                                         8                                                             JAMES LARSON
                                                                                                                                       Chief Magistrate Judge
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United States District Court




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                               For the Northern District of California




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